Case 0:18-cv-60171-RNS Document 9 Entered on FLSD Docket 01/26/2018 Page 1 of 2



                            United States District Court
                                      for the
                            Southern District of Florida

 The Bancorp Bank, Plaintiff,            )
                                         )
 v.                                      )
                                         ) Civil Action No. 18-60171-Civ-Scola
 550 Seabreeze Development LLC           )
 and JAWOF 515 Seabreeze, LLC,           )
 Defendants.                             )
                        Order Requiring Amended Complaint
         Federal courts are obligated to conduct a preliminary examination of the
 record to determine that jurisdiction exists. Kelly v. Harris, 331 F.3d 817, 819
 (11th Cir. 2003). In reviewing the record, the Court is uncertain whether it has
 subject matter jurisdiction over this action.
         A party seeking to invoke a federal court’s diversity jurisdiction must
 allege “facts” that show that federal subject matter jurisdiction exists. Travaglio
 v. Am. Express Co., 735 F.3d 1266, 1268 (11th Cir. 2013). “Those allegations,
 when federal jurisdiction is invoked based upon diversity, must include the
 citizenship of each party, so that the court is satisfied that no plaintiff is a
 citizen of the same state as any defendant.” Id.
         As Plaintiff The Bancorp Bank (“Bancorp”) appears to be aware, in the
 Eleventh Circuit, the citizenship of a limited liability company is determined, for
 diversity purposes, by the citizenship of all the members composing the entity.
 Rolling Greens MHP v. Comcast SCH Holdings, LLC, 374 F.3d 1020, 1021–22
 (11th Cir. 2004). A limited liability company is a citizen of any state of which a
 member is a citizen. Id. at 1022. To sufficiently allege the citizenship of a limited
 liability company, a party must list the citizenship of all the members of the
 limited liability company. Id.
         Here, Bancorp has alleged, “[u]pon information and belief,” that the
 members of Defendants 550 Seabreeze Development LLC and JAWOF 515
 Seabreeze, LLC are citizens of Florida. Bancorp’s belief as to the citizenship of
 the members of the Defendants does not qualify as a “fact” establishing
 jurisdiction. Instead, it relays, at most, Bancorp’s mere unverified “knowledge,”
 which is insufficient to satisfy the Court that the requirements of diversity
 jurisdiction have been met. See generally, Purchasing Power, LLC v. Bluestem
 Brands, Inc., 851 F.3d 1218, 1228 (11th Cir. 2017) (reminding courts that they
 must “make sure parties satisfy the requirements of diversity jurisdiction [and]
Case 0:18-cv-60171-RNS Document 9 Entered on FLSD Docket 01/26/2018 Page 2 of 2



 be vigilant in forcing parties to meet the unfortunate demands of diversity
 jurisdiction in the 21st century”).
       Based on the allegations in the Complaint, the Court is unable to ascertain
 whether complete diversity exists. Accordingly, the Plaintiff must file an
 amended complaint which adequately alleges federal subject matter jurisdiction
 by February 5, 2018. If the Plaintiff fails to file an amended complaint by that
 date or the amended complaint fails to provide the facts necessary to establish
 jurisdiction, this Court may dismiss this case without prejudice.
       Done and ordered, at Miami, Florida, on January 26, 2018.

                                           ________________________________
                                           Robert N. Scola, Jr.
                                           United States District Judge
